Case 4:20-cr-00142-SDJ-KPJ Document 100 Filed 08/02/21 Page 1 of 1 PageID #: 1481



                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

  UNITED STATES OF AMERICA                           §
                                                     §
                                                     §
                                                         CASE NUMBER 4:20-CR-00142-SDJ
  v.                                                 §
                                                     §
                                                     §
  DANIEL AUSTIN DUNN                                 §
                                                     §
                                                                                   FILED
                                                                                        AUG 0 2 2021
                                                                                   Clerk, U.S. District Court
                             WAIVER OF DETENTION HEARING                            Eastern District of Texas




         I, DANIEL AUSTIN DUNN, having been char ed in a Violation of Pretrial Release,

  having appeared before the Court and been advised of my rights as required by Title 18 U.S.C.

  Section 3142 et seq., including my right to have a detention hearing, do hereby waive (give up)

  my right to a detention hearing and agree to be held in custody pending disposition of this matter.




  Date: Au ust 3, 2021
